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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                         Case No. 1:20-cv-03590-JEB
               v.

  META PLATFORMS, INC.,

                    Defendant.


                                   JOINT STATUS REPORT

       On March 31 and April 2, the parties met and conferred again with the New York Times

regarding the relief it requested in its Motion to Intervene and for Access to Judicial Records and

Proceedings, ECF No. 461 (“Motion”). The parties and the New York Times have reached

agreement on some issues raised in the Motion and are continuing to confer productively with

the possibility of resolving further issues. The parties plan to file by April 3 at 8:00 PM another

Joint Status Report reporting on the parties’ progress with respect to the Motion.



 Dated: April 2, 2025                         Respectfully submitted,

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